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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          )                 CASE NO.: 1:21-cv-2982
              Plaintiff,                  )
vs.                                       )
                                          )
OHIO PROPERTIES, LLC,                     )
an Indiana Limited Liability Company,     )
                                          )
              Defendant.                  )
_________________________________________ )

                                         COMPLAINT

       Plaintiff, DENNIS TOOLEY, through his undersigned counsel, hereby files this

Complaint and sues OHIO PROPERTIES, LLC, an Indiana Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a

resident of the State of Indiana in Johnson County.




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       4.          Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the

ADA. MR. TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and

affects his ability to walk and stand.

       5.      Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several

major life activities and generally requires the use of mobility aids including a wheelchair,

walker or a cane depending on his level of pain and fatigue on a daily basis.1

       6.      Defendant, OHIO PROPERTIES, LLC, (hereinafter referred to as “Defendant”),

is an Indiana Limited Liability Company registered to do business in the State of Indiana. Upon

information and belief, Defendant is the owner, lessee, and/or operator of the real property and

improvements, which are the subjects of this action, to wit: the “Property” known as Main St.

Shoppes, generally located at 893 E. Main Street and 200-210 S. Emerson Ave, both in

Greenwood, IN 46143.2 Defendant is responsible for complying with the obligations of the

ADA.

       7.      All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                         COUNT I - VIOLATION OF TITLE III OF THE
                           AMERICANS WITH DISABILITIES ACT

       8.      Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

       9.      The Defendant’s Property, a shopping center with numerous shops and

restaurants, is open to the public and provides goods and services to the public.



1
 Mr. Tooley is capable of walking short distances without assistance on good days.
2
 Defendant owns both parcels which are adjacent to each other. The parcel ID number of each
parcel is: 41-02-33-041-015.000-026 and 41-02-33-041-012.000-026. Both are owned by the
Defendant.

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       10.     Plaintiff MR. TOOLEY resides in close proximity to the Property, has visited the

Property numerous times over the past year and has attempted to utilize the goods and services

offered at the Property. MR. TOOLEY plans to return to the Property in the near future because

it is conveniently located very close to his residence and because he enjoys the stores and

restaurants located there.

       11.     While at the Property, MR. TOOLEY experienced serious difficulty accessing the

goods and utilizing the services thereat due to the architectural barriers discussed herein.

       12.     MR. TOOLEY continues to desire to visit the Property, but fears that he will

again encounter serious difficulty and safety hazards due to the barriers discussed herein which

still exist. Furthermore, but for the barriers to access described herein, Plaintiff would visit the

Property more often.

       13.     Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.304 et

seq. and is discriminating against the Plaintiff due to, but not limited to, its failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

                       A.      Plaintiff encountered that all six (6) of the disabled use parking

               spaces provided throughout the Property are inaccessible (near the entrance to the

               Main Street Grille, Apple Tree Staffing and Puerto Vallarta Restaurant) due to

               built-up curb ramps which protrude into the access aisles and parking spaces

               located there. More specifically, this condition causes slopes well in excess of

               1:48 within the disabled use parking spaces and their access aisles. Moreover, the

               improper curb ramps also have a handrail which further obstructs the access aisle



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              of the parking spaces. These issues make the Property parking spaces difficult

              and dangerous for Mr. Tooley to safely use and increases his risk of a fall.

                      B.      Plaintiff encountered that most of the inaccessible parking spaces

              designated for disabled use (same as noted above) are identified by signage which

              is mounted too low where they will be obstructed by parked vehicles. This makes

              it more difficult for Mr. Tooley to locate and obtain disabled use parking spaces

              during his visits.

                      C.      Plaintiff encountered inaccessible curb ramps at the Property, the

              same three (3) curb ramps as discussed above, because they improperly protrude

              into the access aisle of the disabled use parking spaces.

                      D.      Plaintiff encountered a lack of accessible routes throughout the

              Property due to Defendant’s failure to connect its three (3) buildings with

              accessible curb ramps. Specifically, the striped pedestrian route from Puerto

              Vallarta to Apple Tree Staffing and the striped pedestrian route from Main Street

              Grille to the neighboring building with Apple Tree Staffing.

       14.    Plaintiff has visited the entire public premises described above and encountered

numerous barriers throughout.

       15.    Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       16.    Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendant.



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       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned, leased and/or

               operated by Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and useable by individuals with

               disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures.

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and

       E.      That the Court award such other and further relief as it deems

               necessary, just and proper.

Dated: December 7, 2021



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                                   Respectfully Submitted,


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